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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ATOM Instrument Corporation, et al.             §
    Plaintiffs,                                 §        Civil Action No. 4:12-cv-01811
                                                §
v.                                              §
                                                §
                                                §        Judge Lynn N. Hughes
Petroleum Analyzer Company, LP                  §
       Defendant.                               §

                       Petroleum Analyzer Company, LP’s Supplement to
             Verified Motion for Attorney’s Fees Pursuant to Texas Theft Liability Act

To Judge Hughes:

       1.      Petroleum, as prevailing party, requests the Court to award its reasonable and

necessary attorney’s fees in the amount of $1,201,186.70 incurred defending this trade secret

lawsuit, as required by the Texas Theft Liability Act. TEX. CIV. PRAC. REM. CODE § 134.005

(West 2012). Petroleum previously filed its verified motion for attorney’s fees pursuant to the

Texas Theft Liability Act (Doc. 144) and notified the Court that additional time would be

required to prepare and submit evidence to the Court. This supplement supports the prior motion

and includes the Affidavit of Christine Kirchner attesting to the reasonableness and necessity of

the fees Petroleum incurred in defending this lawsuit. Additionally, the Kirchner Affidavit

(Exhibit A) provides a “lodestar” summary of the necessary timekeeper hours incurred and

reasonable and customary rates for those respective timekeepers for which Petroleum paid to

defend this matter. The lodestar summary (Exhibit A-1), the supporting timekeeper records of

Alston & Bird (Exhibit A-2), along with relevant biographical information as to particular

attorneys (Exhibit A-3) are attached to the Kirchner Affidavit.
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        2.      In their Complaint, Plaintiffs ATOM and Olstowski (Olstowski) alleged both a

claim of trade secret misappropriation and a conversion claim under the Texas Theft Liability

Act. (Doc. 26). The gravamen of Plaintiffs’ complaint is the lengthy history between the parties,

whereby Olstowski claimed that Petroleum stole, or converted, his trade secrets/property.

Olstowski did not prevail on those claims at trial (Doc. 142). The Texas Theft Liability Act

mandates attorney’s fees “shall be awarded” to the prevailing party, here Petroleum. TEX. CIV.

PRAC. & REM. CODE 134.005 (West 2012).

        3.      Ordinarily a party seeking attorney’s fees must segregate its recoverable fees from

its non-recoverable fees, but segregation is not required, when, as here, the attorney’s fees “are in

connection with claims arising out of the same transaction and are so interrelated that their

prosecution or defense entails proof or denial of essentially the same facts.” Navigant

Consulting, Inc. v. Wilkinson, 508 F.3d 277, 298 (5th Cir. 2007) (applying Texas law).1 Here,

Petroleum’s defense of ATOM’s trade secret misappropriation claim is so intertwined with its

defense of Olstowski’s Theft Liability Act claim that segregation of fees is not required.

Plaintiffs’ misappropriation of trade secrets claim and Theft Liability Act claim arise from
the same transactions and relationships.

        4.      Plaintiffs’ Complaint (filed in 2012 and never amended) alleged Petroleum was

prohibited from claiming ownership in or using the “Olstowski Technology,” which was

judicially determined to be Olstowski’s trade secrets. (Doc 26, ¶¶ 9, 11). As alleged, Petroleum

used the Olstowski Technology, including in its MultiTek instruments, and this substantially

interfered with ATOM or Olstowski’s use and enjoyment of the Olstowski Technology, and

caused ATOM or Olstowski to sustain damages. (Doc. 26, ¶ 12).


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 See also Tony Gullo Motors I, L.P. v. Chapa, 212 S.W.3d 299, 313–14 (Tex. 2006) (“Intertwined facts do not
make tort fees recoverable; it is only when discrete legal services advance both a recoverable and
unrecoverable claim that they are so intertwined that they need not be segregated”).

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       5.     Regarding the trade secret misappropriation claim, Olstowski alleged the

following:

              13. Plaintiffs incorporate by reference the allegations of paragraphs 5‐12
              above.

              14. Atom and/or Olstowski own, possess and/or have the right to use the
              trade secrets represented by or embodied within the Olstowski
              Technology.

              15. PAC, in relation to the manufacture, sale, servicing and/or repair of
              PAC instruments, including its “MultiTek” instruments, unlawfully used or
              disclosed trade secrets represented by or embodied within the Olstowski
              Technology, after being notified by court order that such use or
              disclosure by PAC was prohibited.

              16. As a result of PAC’s unlawful use or disclosure of trade secrets
              represented by or embodied within the Olstowski Technology, Atom
              and/or Olstowski sustained damages in an amount to be shown at trial.

              17. Additionally or alternatively, Plaintiffs are entitled to recover
              damages (via disgorgement and/or other remedies) measured by PAC’s
              profits resulting from its unlawful use or disclosure of trade secrets
              represented by or embodied within the Olstowski Technology, and/or in
              the form of a reasonable royalty for such use or disclosure, in an amount
              to be shown at trial.

              18. Additionally or alternatively, PAC unlawfully used or disclosed trade
              secrets represented by or embodied within the Olstowski Technology,
              knowingly, willfully, maliciously, and/or with conscious indifference or
              reckless disregard for Plaintiffs’ rights. Plaintiffs are, therefore, entitled to
              recover punitive or exemplary damages in an amount sufficient to punish
              PAC’s unlawful conduct and/or to deter those similarly situated from
              engaging in such unlawful conduct in the future.

       6.     Olstowski’s Texas Theft Liability Act claim is based on the very same facts as the

above misappropriation claim, and expressly incorporates those allegations:

              23. Plaintiffs incorporate by reference the allegations of paragraphs 5‐18
              above.




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               24. Plaintiffs own, possess and/or have the right to use property rights in
               the trade secrets represented by or embodied within the Olstowski
               Technology.

               25. PAC unlawfully appropriated, acquired and/or exercised control over
               Plaintiffs’ property without Plaintiffs’ consent.

               26. PAC unlawfully appropriated, acquired and/or exercised control over
               Plaintiffs’ property with the intent to deny Plaintiffs the value or
               enjoyment of the property and/or to otherwise deprive Plaintiffs of the
               property.

               27. Defendant’s theft of Plaintiffs’ property caused injury or damages to
               the Plaintiffs, in an amount to be proven at trial.

               28. Additionally or alternatively, PAC engaged in theft of Plaintiffs’
               property, as alleged above, knowingly, willfully, maliciously, and/or with
               conscious indifference or reckless disregard for Plaintiffs’ rights. Plaintiffs
               are, therefore, entitled to recover punitive or exemplary damages in an
               amount sufficient to punish PAC’s unlawful conduct and/or to deter
               those similarly situated from engaging in such unlawful conduct in the
               future.

       7.      Thus, the facts alleged in the Complaint to support Olstowski’s misappropriation

of trade secrets claim and Theft Liability Act claim have a common genesis: Petroleum’s alleged

use of the “Olstowski Technology.”

Petroleum had to prove or deny essentially the same facts in its defense against both the
misappropriation of trade secrets claim and the Theft Liability Act claim.

       8.      Under Texas law, Olstowski’s claims for trade secret misappropriation and trade

secret theft under the Theft Liability Act are nearly indistinguishable. Trade secret

misappropriation “is established by showing: (a) a trade secret existed; (b) the trade secret was

acquired through a breach of a confidential relationship or discovered by improper means; and

(c) use of the trade secret without authorization from the plaintiff.” Phillips v. Frey, 20 F.3d 623,

627 (5th Cir. 1994). Liability for theft of a trade secret under the 2012 Theft Liability Act

requires showing that the defendant knowingly (1) stole a trade secret; (2) made a copy of an

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article representing a trade secret; or (3) communicated or transmitted a trade secret. See TEX.

CIV. PRAC. & REM. CODE § 134.003 (West 2012); TEX. PENAL CODE § 31.05 (West 2012).

       9.      The Complaint alleged the Olstowski Technology was a trade secret, that

Petroleum breached non-disclosure agreements related to the Olstowski Technology, and that

Petroleum “sold, offered, disclosed and/or otherwise used the Olstowski Technology” in relation

to its MultiTek devices. (Doc. 26, ¶¶ 5, 6, 11). The two claims essentially allowed Olstowski to

articulate the same set of facts through multiple claims.      However, as the master of their

pleadings, Plaintiffs could have elected one or the other upon which to proceed to trial. In light

of these allegations, Petroleum’s defense for Plaintiffs’ misappropriation of trade secrets claim

and the Theft Liability Act claim required proving or denying essentially the same facts.

       10.     As a result, Petroleum’s fees for defending Plaintiffs’ Theft Liability Act claim

and misappropriation of trade secret claim need not be segregated because they were incurred in

connection with claims arising out of the same transaction, and are so interrelated that their

defense entails proof or denial of essentially the same facts. Navigant Consulting, 508 F.3d at

298 (5th Cir. 2007); Chapa, 212 S.W.3d at 313 (“To the extent such services would have been

incurred on a recoverable claim alone, they are not disallowed simply because they do double

service.”).

Kirchner Affidavit and Lodestar Methodology to Request Fees

       11.     Petroleum is entitled to receive its reasonable and necessary attorney’s fees

because the Texas Theft Liability Act mandates that each person who prevails in a suit under the

Act “shall be awarded court costs and reasonable and necessary attorney’s fees.” CIV. PRAC. &

REM. CODE § 134.005(b); See also Mathis v. Exxon Corp., 302 F.3d 448, 461 (5th Cir. 2002) (“A

fee award is governed by the same law that serves as the rule of decision for the substantive



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issues in the case.”). Here, Ms. Kirchner in the attached affidavit has provided an opinion based

upon several non-exclusive factors as to the appropriateness of the fees sought for recovery by

Petroleum. These include but are not limited to: 1) time and labor required; 2) novelty and

difficulty of the questions involved; 3) skill required to perform the legal services properly; 4)

preclusion of other employment; 5) fees customarily charged in the Houston, Texas area; 6)

amount involved and results obtained; 7) nature and length of professional relationship with

client. See, e.g., Arthur Andersen & Co. v. Perry Equip. Corp., 945 S.W.2d 812, 818 (Tex.

1997). In considering these factors, a review of the Alston & Bird accounting timekeeper

records was undertaken. Time billed by various timekeepers that was unrelated to the defense of

the theft of trade secrets as claimed under the Texas Theft Liability Act was segregated and

removed. Also, due to the varying billing rates assigned to various timekeepers throughout the

six year pendency of this case, a weighted average timekeeper rate was calculated and applied.

The methodology and rationale for this fee request complies with the “lodestar” method

recognized by Texas courts and the U.S. Fifth Circuit. See, e.g., El Apple I, Ltd. v. Olivas, 370

S.W.3d 757, 760 (Tex. 2012); Forbush v. J.C. Penney Co., 98 F.3d 817, 821 (5th Cir. 1996).

       12.     For these reasons, and based upon the attached affidavit and evidence, Petroleum

asks the Court to accept this supplement to its motion for attorney’s fees pursuant to the Texas

Theft Liability Act, and award it reasonable and necessary attorney’s fees in the amount of

$1,201,186.70 against ATOM Instrument Corporation and Franek Olstowski.




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                                            Respectfully submitted,

                                            /s/Christine Kirchner

Christine Kirchner                          James C. Grant
Texas Bar No. 00784403 / SDOT: 15255        A. Shane Nichols
                                            Texas Bar No. 24063267 / SDOT: 1196609
CHAMBERLAIN, HRDLICKA,                      Matthew W. Howell
WHITE, WILLIAMS & AUGHTRY
1200 Smith, Suite 1400                      ALSTON & BIRD, LLP
Houston, Texas 77002-4310                   1201 West Peachtree Street
Telephone: 713-658-1818                     Atlanta, GA 30309
Facsimile: 713-658-2553                     Telephone: (404) 881 – 4540
                                            Facsimile: (404) 881 – 7777
                                            Jim.Grant@alston.com
                                            Shane.Nichols@alston.com
                                            Matthew.Howell@alston.com

                                            Counsel for Defendant Petroleum Analyzer Co., LP


                            CERTIFICATE OF CONFERENCE

       Counsel for Petroleum did not confer with counsel for ATOM Instrument Corporation or

Franek Olstowski regarding the relief sought by this Motion because similar to a dispositive

motion, it is presumed that ATOM and Olstowski are opposed to the relief sought in this Motion.

                                           /s/ Christine Kirchner
                                               Christine Kirchner




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                                CERTIFICATE OF SERVICE

        I certify that on September 7, 2018, this document was served on counsel of record by

electronic filing in accordance with the Administrative Procedures for Electronic Filing of the

United States District Court, Southern District of Texas.


                                             /s/Christine Kirchner
                                                 Christine Kirchner

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